
Per curiam.
John W. Haskins, a resident of Florida and an inactive member of the Georgia State Bar, petitioned for voluntary surrender of his license to practice law after pleading guilty to two counts of mail fraud in Florida. The State Bar made no objection. The Review Panel recommends that the petition for voluntary surrender be accepted for violation of Standard 66 of State Bar Rule 4-102, and that Haskins’ name be removed from the roll of attorneys entitled to practice law in the State of Georgia.
Voluntary surrender of a license is the equivalent of disbarment. Before reinstatement, Haskins must comply with the reinstatement rules of the State Bar of Georgia in effect at that time. Haskins’ petition for voluntary surrender of his license is granted.

Voluntary surrender of license.


All the Justices concur.

